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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


WCA HOLDINGS III, LLC
                                            Case No.: 1:20-cv-7472 (GHW)
                           Plaintiff,

             - against -

PANASONIC AVIONICS CORPORATION,

                           Defendant.




        MEMORANDUM OF LAW IN OPPOSITION TO DEFENDANT’S

            MOTION TO DISMISS THE AMENDED COMPLAINT
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       Plaintiff WCA Holdings III, LLC (“WCA”) respectfully submits this memorandum of law

in opposition to Defendant Panasonic Avionics Corporation’s Motion to Dismiss the Amended

Complaint (“Motion”). For the reasons set forth herein, the Motion should be denied.

                               PRELIMINARY STATEMENT

       The Motion repeatedly misstates the factual allegations and underlying agreements to

attack the Amended Complaint. Panasonic Aviation Corporation (“Panasonic”) ignores the clear

terms binding the parties in an attempt to undermine the validity of the contract. Panasonic’s

arguments rely on assertions that contradict the plain language of the General Terms Agreement

(“GTA”), and Amendments Nos. 1-4 (the “Amendments” and, together with the GTA, the

“Contract”). Panasonic also relies on numerous rhetorical questions that are easily answered by

reviewing the terms of the Contract.

       The Motion, which was re-filed after WCA amended the original Complaint, does not

appear to reflect many of the amended allegations. A comparison of Panasonic’s first Motion to

Dismiss with the Motion to Dismiss the Amended Complaint appears to show that entire pages

and arguments were unchanged, despite no longer reflecting the content of the allegations.

       This failure to respond to the Amended Complaint led Panasonic to include multiple

arguments that are demonstrably false. For instance, Panasonic argues that WCA “cannot cite to

any specific provision (in either the GTA or Amendment Nos. 1-4) that Panasonic ‘breached’. . . .”

Mot. at 10. Yet WCA explicitly cited specific provisions in multiple places in the Amended

Complaint. See Amend. Comp. ¶¶ 36, 41-43, and 47. Panasonic also contends that no express

warranty applies to the eX1 System. Mot. at 12. Yet the Amendments explicitly state that “the eX1

System shall be covered by the warranty provided in Section 6 of the” GTA. See, e.g., Amend.

No. 1, Sec. 4.3.


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       Panasonic’s erroneous arguments do little to undermine the strength of WCA’s claims.

WCA respectfully submits that it has sufficiently stated a claim for breach of contract, breach of

the implied covenant of good faith and fair dealing, or, in the alternative, for promissory estoppel.

These claims are not time barred for numerous reasons, including that the Contract includes

numerous amendments that must be considered when analyzing the statute of limitations.

Additionally, the GTA and the Amendments each included guarantees of future performance. For

this reason, the statute of limitations did not begin to run on initial delivery, even if the Court can

determine that delivery was completed.

       Finally, the Contract was valid and does include mutuality of obligation as to each and

every Amendment. Panasonic offers a tortured reading of the Contract, eliding elements of the

GTA and Amendments, to argue that there was no mutuality of obligation. This argument is

incorrect, as WCA was always obligated to pay for the goods and services it received; the fact that

WCA and Panasonic (the “Parties”) included two options for payment does not make the Contract

unenforceable. The Contract was also definite, as it included specific industry standards for how

WCA would pay for the upgrades and included an enumerated list of goods to be installed. The

Parties manifested their intention to be bound, and included neither precatory language nor plans

to enter into future agreements. Panasonic’s arguments to the contrary are unsupported by the text

of the Contract and the facts.

       WCA also asserted claims based on the duty of good faith and fair dealing and an

alternative claim for promissory estoppel to preserve its interests only if Panasonic were correct in

arguing the Contract is invalid, which it is not. As this Court has previously recognized, if a claim

for breach of contract is dismissed, a claim for a violation of the implied covenant of good faith

and fair dealing need not be dismissed. See Argument, Section II, infra. Additionally, WCA



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believes that if the Court were to agree with Panasonic that certain Contract provisions were

unenforceable, justice would require enforcing the promises made by Panasonic on which WCA

reasonably relied.

       For these reasons, WCA respectfully submits that the Motion should be denied.

                                   STATEMENT OF FACTS

       The relevant facts have already been provided in detail in the Amended Complaint. In

short, WCA owns a Boeing 737-700 BBJ private aircraft (“Aircraft”). Under the Contract,

Panasonic agreed to provide products, software and services for the Aircraft in exchange for either

cash or in-kind payment by WCA.

       Panasonic promised to install both the eXConnect system and the eX1 System. The eX1

system was a “cabin management” and “in-flight entertainment system.” GTA, Ex. F. While

Panasonic installed both systems, they were not fully functional, failing to operate as intended and

represented. For example, the in-flight television failed to work. Panasonic attempted to remedy

the problems. The Parties also entered into a series of amendments governing necessary upgrades

to the eX1 system. Despite years of delays and attempts to have Panasonic properly upgrade the

system, Panasonic has still failed to complete the upgrades. Given Panasonic’s repeated failures to

comply with its obligations, WCA initiated the present suit on September 11, 2020.

       Central to the Parties’ dispute is the existence of and applicability of certain warranties in

the Contract. The GTA included numerous warranties. Section 6 of the GTA included warranties,

some of which extended to future performance. Section 6.1.1 stated that the “Products shall be free

from defects in material and workmanship for a period of thirty-six (36) months from the date of

shipment of the products.” The GTA was dated June 29, 2010; this guarantee of future performance

therefore extended until at least June 29, 2013, subject to later amendments.



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       The GTA was amended four times. The first amendment, which was dated October 19,

2012 (“Amendment No. 1”), extended the warranty in GTA section 6.1.1 to 60 months after the

extended completion date (December 20, 2012). Amend. No. 1, Sec. 4.2.1. The defects and

workmanship warranty therefore ran through December 20, 2017 as of the signing of the first

amendment. The second amendment, dated November 16, 2012 (“Amendment No. 2”), extended

the warranty provisions to the “later of” 60 months after the extended completion date or the date

the Aircraft was transferred. Amend. No. 2, Sec. 5.2.1. Panasonic therefore guaranteed the

Products would be free from defects in material and workmanship until, at the earliest, February

15, 2018 and, at the latest, until the Aircraft was sold or transferred. The third amendment, dated

March 11, 2013 (“Amendment No. 3”), included the same language, extending the guarantee to

May 19, 2018. Amend. No. 3, Sec. 5.2.1. Finally, the fourth amendment, dated April 10, 2017

(“Amendment No. 4”)1, also included this language, extending the materials and workmanship

guarantee to, at the earliest, 60 months after the installation date, which was yet to be determined,

and at the latest until the Aircraft was sold or transferred. Even if the installation had occurred the

next day, this warranty would have been in place until 2022.

       Amendment No. 4 also extended the term of the GTA through December 31, 2017. Section

5 stated that “Panasonic and [WCA] each agree that the term of the Agreement shall be extended

through December 31, 2017.” The “Agreement” was defined as “that certain General Terms

Agreement dated June 29, 2010.” Amend. No. 4, at 1.

       Each of the Amendments also applied the original warranty provisions in Section 6 of the

GTA to the equipment upgrades to the eX1 system. See Amend. No. 1, Sec. 4.3 (“All such



1
 Amendment No. 1, Amendment No. 2, Amendment No. 3, and Amendment No. 4 are
collectively referred to herein as the “Amendments.”

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upgrades to the eX1 System shall be covered by the warranty provided in Section 6 of the [GTA],

as amended by this Amendment.”); Amend. No. 2, Sec. 5.3 (same); Amend. No. 3, Sec. 5.3 (same);

Amend. No. 4, Sec. 3.1 (same).

                                         LEGAL STANDARD

        A complaint may only be dismissed pursuant to Federal Rule of Civil Procedure 12(b)(6)

if the plaintiff fails to allege facts that “state a claim to relief that is plausible on its face.” Ashcroft

v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

The Court must accept all material factual allegations in the Amended Complaint as true and draw

all reasonable inferences in favor of Plaintiff. See, e.g., Kassner v. 2nd Ave. Delicatessen Inc., 496

F.3d 229, 237 (2d Cir. 2007); see also Stanley v. Direct Energy Servs., LLC, 466 F. Supp. 3d 415,

428 (S.D.N.Y. 2020) (denying defendant’s motion to dismiss and stating that “all ambiguities must

be resolved in favor of Plaintiff”).

                                              ARGUMENT

I.      WCA HAS STATED A TIMELY CLAIM FOR RELIEF BASED ON
        PANASONIC’S BREACH OF AN ENFORCEABLE CONTRACT

        A. WCA’s claim is not barred by the statute of limitations.

        Panasonic contends that one aspect2 of WCA’s breach of contract claim is barred by the

statute of limitations as to Panasonic’s failure to install a fully-working eX1 system, as alleged in

Paragraph 46(a) of the Amended Complaint. Panasonic misapplies the statute and the law to

WCA’s claim. The installation of the eX1 system is not, on the face of the Amended Complaint,

subject to the four-year statute of limitations under the Uniform Commercial Code.3 N.Y. U.C.C.


2
  Notably, Panasonic does not argue that the breaches alleged in Paragraphs 46(b) (warranty
breaches) and 46(c) (failure to install Equipment Upgrades in or after 2017) of the Amended
Complaint are barred by the statute of limitations. See Mot. at 10.
3
  Even if the four-year limitation period under the UCC applied, Panasonic is wrong as to when
the statute began to run because of the existence of the warranty provisions. Under New York’s

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Law § 2-725(1). First, as described in Exhibit F to the GTA, the eX1 system includes new

engineering work, products, software and services and installation—it is not merely a sale of

goods. See, e.g., Hagman v. Swenson, 149 A.D.3d 1, 3, 47 N.Y.S.3d 324, 325 (2017). Second,

Panasonic did not satisfy its burden to establish as a matter of law that the installation of the eX1

was predominantly a sale of goods. See Golisano v. Vitoch Interiors Ltd., 150 A.D.3d 1629, 1630,

54 N.Y.S.3d 244, 245 (2017). Indeed, Panasonic stated that either the four-year or six-year statutes

may be applicable. Mot. at 11. Thus, the applicable statute is the six-year limitation period for

breach of contract for purposes of this Motion. N.Y. C.P.L.R. 213; Hagman, 149 A.D.3d at 3, 47

N.Y.S.3d at 325 (finding that the contract was predominantly one for services and applying the

six-year statute of limitations in CPLR 213).

       Panasonic acknowledges the running of the statute of limitation occurs from the date of

breach, not the date initial installation was complete. Mot. at 11. As alleged, “[t]he failures of the

eX1 and eXConnect system were numerous [and] occurred over many years, dating from early

installation through the present.” Amend. Comp. ¶ 33. Thus, while the statute of limitations

arguably limits damages for breaches first occurring prior to six years before the filing of this

action, it does not bar the claim for failure to provide a fully-working eX1 system because the

breaches occurred over the course of years after the system was initially installed. These are factual




Uniform Commercial Code, a breach of warranty occurs when “tender of delivery is made,
except that where a warranty explicitly extends to future performance of the goods and discovery
of the breach must await the time of such performance the cause of action accrues when the
breach is or should have been discovered.” N.Y. U.C.C. Law § 2-725(2) (emphasis added); see
also Woods v. Maytag Co., 2010 WL 4314313, at *3 (E.D.N.Y. Nov. 2, 2010) (noting that a
“warranty for future performance guarantees the performance of the product itself for a stated
period of time”) (quoting Ontario v. Zallea Sys., Inc., 569 F.Supp. 1261, 1266 (D.Del.1983)).



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issues to resolve on summary judgment or at trial. There is no basis to dismiss the portion of the

breach of contract claim alleged in Paragraph 46(a).

       Panasonic’s argument also fails because the Amendments, together with the GTA,

constitute a single contract. Any analysis of the statute of limitations for breach of the Contract

must include all the Amendments and alleged events occurring over the past several years. See

Haber v. Gutmann, 64 A.D.3d 1106, 1107-8 (2009) (finding that the action was not time barred

by calculating the statute of limitations from the end of the work performed under the amendment

to the original contract). The Contract’s term was extended through December 31, 2017. Amend.

No. 4, Sec. 5. The initial complaint in this matter was filed on September 11, 2020, less than 3

years from the end of the contract term as stated in Amendment No. 4. Additionally, given the

dates of the Amendments, the warranty provisions guaranteeing future performance were in effect

up to and including the date of filing the initial complaint. Thus, even if the four-year statute of

limitations found in N.Y. U.C.C. § 2-725(1) applied to Panasonic’s services, software and

equipment, WCA’s claims were timely.

       Finally, this Court in Gillespie v. St. Regis Residence Club found plaintiff’s claims were

timely under the six-year statute of limitations. Gillespie v. St. Regis Residence Club, 343 F. Supp.

3d 332, 347-48 (S.D.N.Y. 2018) (Woods, J.) (“Given that the governing documents do not specify

a deadline for the Sponsor's performance, the Sponsor is entitled to a ‘reasonable time’ to perform.

Because the question of ‘reasonable time’ is a question of fact, however, the Court declines to

dismiss Count One as untimely at this stage.”). Here, the GTA did not specify an installation date.4



4
  The Amendments did include target installation dates. See, e.g., Amend. No. 1, Sec. 3 (setting
the Extended Completion Date on December 20, 2012). Yet when a reasonable time for
installation would have been prior to Amendment No. 1—between June 29, 2010 and October
19, 2012—is a question of fact.

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Therefore, under Gillespie, the question of a “reasonable time” for completing of the installation

is a question of fact. The Court should therefore deny Panasonic’s motion to dismiss on the ground

that WCA’s claim for breach is time barred.

       B. WCA has sufficiently pled that Panasonic breached the Contract.

       WCA’s claim for breach of contract is both sufficiently pled and not defective. “To state a

claim in federal court for breach of contract under New York law, a complaint need only allege

(1) the existence of an agreement, (2) adequate performance of the contract by the plaintiff,

(3) breach of contract by the defendant, and (4) damages.” Harsco Corp. v. Segui, 91 F.3d 337,

348 (2d Cir. 1996).

       WCA pleads these elements under Count I, including the existence of a contract, its

adequate performance by WCA, Panasonic’s breach, and related damages. Amend. Comp. ¶¶ 45-

48. WCA also pleads facts underlying each of these elements throughout the Amended Complaint.

See Amend. Comp. ¶ 30 (pleading WCA’s adequate performance); id. at ¶¶ 6, 36, 42 (pleading

Panasonic breached the Contract); id. at ¶ 6 (pleading damages arising from Panasonic’s breach).

       Despite these allegations, Panasonic incorrectly argues that “WCA cannot cite to any

specific provision (in either the GTA or Amendment Nos. 1-4) that Panasonic ‘breached’ with

respect to installing the eX1 system . . . .” Mot. at 10. Not true. WCA has expressly alleged that

Panasonic breached the following provisions of the Contract: (i) Exhibit F to the GTA, promising

to engineer, certify and install a set of functional features in the eX1 system (Amend. Comp. ¶¶

19, 31 and 46(a)); and (ii) Section 6 of the GTA and Amendments, warranting the Products,

Software and Services (Am. Comp. ¶¶ 17, 36 and 46(b)).5



5
  Even if these allegations did not exist, Panasonic is also wrong as to the degree of specificity
required at the pleading stage. The Second Circuit has indicated that while “a prudent plaintiff
complaining of a breach of contract should allege what representations or warranties were

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       Panasonic also asserts that the there are no provisions in the Contract that “set forth the

installation process or specifications for the eX1 system,” arguing therefore that no provisions

create binding obligations on Panasonic regarding the eX1 system. Mot. at 10-11. But Exhibit F

to the GTA expressly provides that Panasonic would engineer and install an eX1 system with a

specific set of working features. The absence of detailed installation specifications in the Contract

does not absolve Panasonic of its obligation to complete the installation in a manner that rendered

the system compliant with Panasonic’s promises in Exhibit F.

       Thus, Panasonic’s argument that WCA cannot possibly state a claim for breach of the GTA

as there “are no terms whatsoever” related to the eX1 system’s installation is incorrect. There are

numerous terms applicable to the eX1, and WCA has adequately alleged Panasonic’s breach of

these obligations.

       C. WCA was obligated to perform under the Contract.

       Panasonic contends it cannot be held to its repeated promises to provide Equipment

Upgrades to the eX1 system because those promises lack consideration. This is false. The Contract

was valid and enforceable. A contract lacks mutuality of obligation only when “one party provides

no enforceable consideration for the agreement.” Robert L. Haag, Inc. v. Swift & Co., 696 F.2d 30,

31 (2d Cir. 1982). Here the Parties acknowledged that each Amendment was supported by

consideration and neither party offered an illusory promise, as WCA was obligated to pay for the

goods and services provided by Panasonic.

       First, Panasonic’s promises to provide Equipment Upgrades in Amendments 1-4 were

supported by numerous counter-promises from WCA. For example, WCA promised to extend the




breached, it is not clear that notice pleading requires such specificity.” Harsco Corp. v. Segui, 91
F.3d 337, 348 (2d Cir. 1996).

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date for Panasonic’s installation of the eX1 system and to provide the Aircraft for flight testing.

Amend. No. 1, Sec. 3-4; Amend. No. 2, Sec. 4-5; Amend. 3, Sec. 4-5; Amend. No. 4, Sec. 4. WCA

also agreed to extend the term of the Agreement. Amend. No. 4, Sec. 5. The Parties, both of whom

are sophisticated business entities, correctly acknowledged that each Amendment contained

mutual covenants and promises. Panasonic errs by ignoring these mutual promises from WCA.

       Second, WCA did not have a unilateral option to perform a payment obligation to

Panasonic in exchange for the Equipment Upgrades under the Contract. Panasonic’s strained,

unsupported interpretation of the Contract is an attempt to render the contract illusory and

unenforceable. Under New York law, an “interpretation that renders a contract illusory and

therefore unenforceable is disfavored and enforcement of a bargain is preferred, particularly

where, as here, the Parties have expressed their intent to be contractually bound in a writing.”

Roberts v. Weight Watchers Int'l, Inc., 217 F. Supp. 3d 742, 752 (S.D.N.Y. 2016), aff'd, 712 F.

App'x 57 (2d Cir. 2017) (quoting Credit Suisse First Bos. v. Utrecht–Am. Fin. Co., 80 A.D.3d 485,

915 N.Y.S.2d 531, 535 (2011)).

       The Parties intended that the Equipment Upgrades be paid for by Demonstration Flights.

Amend. No. 4, Sec. 3.1. Nothing obligated WCA to provide payment in the form of demonstration

flights, although WCA had done so as a matter of practice during performance of the Contract.

Amend. No. 3, Sec. 5.4; Amend. Comp. ¶ 2. Yet this option to provide demonstration flights did

not vitiate WCA’s obligation to pay for the Equipment Upgrades in some form. As established in

Exhibit F to the GTA, “[s]hould [WCA] decline to participate in this additional flight and

demonstration testing, Panasonic shall invoice and [WCA] shall pay any balance of the discounted

eX1 pricing per section 2 of this GTA.” GTA, Ex. F (emphasis added). Nothing in the Amendments




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voided this provision. The Parties therefore had mutuality of obligation, as WCA was not entitled

to receive goods without paying for them.

       The Contract envisioned alternative payment methods and Panasonic has provided no case

law indicating that this makes a buyer’s performance obligation optional.6 In fact, New York courts

have analyzed contracts with alternative payment options and found them to be enforceable. See,

e.g., Highland CDO Opportunity Master Fund, L.P. v. Citibank, N.A., 270 F. Supp. 3d 716, 732

(S.D.N.Y. 2017) (finding that one party had no obligation to pay in cash, where contract allowed

for in-kind payment as well).

       The case law Panasonic cites in support of its arguments in section I.C are largely

inapplicable. For instance, in both Souveran Fabrics Corp. v. Virginia Fibre Corp., 37 A.D.2d

925, 325 N.Y.S.2d 973 (1st Dep’t 1971) and the case it relies on in the passage quoted by

Panasonic, Oscar Schlegel Mfg. Co. v. Peter Cooper's Glue Factory, 231 N.Y. 459, 132 N.E. 148

(1921), the cases involved buyers who contracted to purchase as much, or as little, as they wanted

from the seller. In Souveran, the buyer prevented the seller from selling any product to any other

party, without obligating itself to purchase anything. This is plainly inapposite to the present

contract, as WCA did not prevent Panasonic from selling its goods nor did it have the right to not

purchase the Equipment Upgrades identified in Amendment No. 4. Souveran, 37 A.D.2d at 925.

Similarly, CARI, LLC v. 415 Greenwich Fee Owner, LLC, 91 A.D.3d 583, 939 N.Y.S.2d 319

(2012), involved a contract that one party was entitled to unilaterally terminate, which is also

inapplicable to the present case.


6
 Panasonic also provides no support for its novel legal argument that each separate provision in
Amendment No. 4 must have mutual obligations. See Motion at 16-17. To be clear, Amendment
No. 4 was an enforceable agreement that included both promises and consideration. As noted,
under New York law, where parties have expressed their intent to be bound in writing, courts
should interpret agreements to maintain their enforceability.

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       D. The Contract was sufficiently definite and are enforceable.

       Panasonic is also wrong that the terms of the Equipment Upgrades provision were not

sufficiently definite to be binding.7 First, the equipment upgrades provision included a promise

that Panasonic would act in the future. Panasonic was to “install in the Aircraft in September 2017

(or such other month as the parties may agree) any and all upgrades to the eX1 System then

available.” Amend. No. 1, Sec. 4.3. The Amendments then included a list of the expected upgrades

that might have been available and would have been installed in or around September 2017. The

Amendments did not allow for an unlimited universe of possible technological upgrades as it did

not include the phrase “including, but not limited to” in its reference to the available upgrades.

This is a sufficiently definite obligation, and Panasonic presents no substantive argument to the

contrary.

       The equipment upgrades provision also established that WCA was to pay for the upgrades.

Panasonic cites case law for the proposition that “few principles are better settled in the law of

contracts than the requirement of definiteness.” Mot. at 17 (quoting Arbitron, Inc. v. Tralyn Broad.,

Inc., 400 F.3d 130, 136 (2d Cir. 2005)). Immediately following the sentence quoted by Panasonic,

the court in Arbitron added that courts have also noted that price terms are not indefinite simply

because they do not include a specific amount:

               A price term is not necessarily indefinite because the agreement fails
               to specify a dollar figure, or leaves fixing the amount for the future,
               or contains no computational formula. Where at the time of
               agreement the parties have manifested their intent to be bound, a
               price term may be sufficiently definite if the amount can be
               determined objectively without the need for new expressions by the
               parties; a method for reducing uncertainty to certainty might, for
               example, be found within the agreement or ascertained by reference

7
  This provision was included in each of the Amendments. See, e.g., Amend. No. 1, Sec. 4.3.
Panasonic refers to this provision as the “Equipment Upgrades Bargain” yet includes no allegation
that this provision was separately bargained for in each Amendment.

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               to an extrinsic event, commercial practice or trade usage. A price so
               arrived at would have been the end product of agreement between
               the parties themselves.

Arbitron, 400 F.3d at 136 (2d Cir. 2005) (quoting Cobble Hill Nursing Home, Inc. v. Henry &

Warren Corp., 74 N.Y.2d 475, 483, 548 N.E.2d 203, 206 (1989)).

       The price terms in the Contract were definite. The Equipment Upgrade provisions stated

the Parties’ intention was for WCA to pay for the upgrades using Demonstration Flights.8 This

was not precatory language; there is no allowance in the provision or anywhere else in the

Amendments for WCA to choose not to pay for the upgrades. The price of the Equipment Upgrades

was determinable based upon the Panasonic list price or industry-standard values at the time of the

installation. Within the context of the Contract as a whole, noting the intention of the Parties was

simply identifying which option of payment the Parties agreed would be preferable. See, e.g.,

GTA, Ex. F (providing that WCA was to pay in cash if it did not provide demonstration flights).

       The cases cited by Panasonic on this point all involved cases in which the parties

envisioned entering into a future agreement that would make the terms of the agreement definite.

See, e.g., Major League Baseball Properties, Inc. v. Opening Day Prods., Inc., 385 F. Supp. 2d

256, 271 (S.D.N.Y. 2005) (finding that “defendant contemplated an agreement in the future that

would spell out such compensation”). The Amendments did not include any precatory language

indicating that the Parties would reach an agreement on their respective obligations in the future,

and these cases are therefore inapplicable.




8
  Despite Panasonic’s rhetorical questions about how many flights it would take to pay for the
upgrades, the Amendments explain in detail how the demonstration flights were to be priced. The
pricing incorporates objective criteria, including industry standards. See, e.g., Amend. No. 1, Sec.
4.4 (referencing the “Total Variable Cost/Hour as published in the Conklin and de Decker Aircraft
Cost Report”).

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          E. Even if the Contract were indefinite, WCA’s claim for breach of contract cannot
             be dismissed.

          Even if the Court were to find that the Equipment Upgrades in the Contract are indefinite

or ambiguous, which it should not, it must deny the Motion to the extent it seeks to dismiss a claim

involving the ambiguity. Whether the contract is ambiguous is a question of law “for the Court to

decide on a claim-by-claim basis.” Homeward Residential, Inc. v. Sand Canyon Corp., 298 F.R.D.

116, 128 (S.D.N.Y. 2014) (citing Broder v. Cablevision Sys. Corp., 418 F.3d 187, 197 (2d

Cir.2005)). If, however, the Court determines the contract is ambiguous, the Parties’ intent as to

the meaning of the term is a question of fact, “‘which of course precludes summary dismissal’ on

a Rule 12(b)(6) motion.” Homeward, 298 F.R.D. at 129 (quoting Crowley v. VisionMaker, LLC,

512 F.Supp.2d 144, 152 (S.D.N.Y.2007)).

          A contract is not ambiguous simply because the parties do not agree on an interpretation.

A contract will be found to be ambiguous “where a contract term could suggest more than one

meaning when viewed objectively by a reasonably intelligent person who has examined the context

of the entire integrated agreement and who is cognizant of the customs, practices, usages and

terminology as generally understood in the particular trade or business.” Bayerische Landesbank,

New York Branch v. Aladdin Capital Mgmt. LLC, 692 F.3d 42, 53 (2d Cir. 2012). A “court must

avoid any interpretation that would be ‘absurd, commercially unreasonable, or contrary to the

reasonable expectations of the parties.’” Homeward, 298 F.R.D. at 129 (quoting Landmark

Ventures, Inc. v. Wave Sys. Corp., No. 11 Civ. 8440, 2012 WL 3822624, at *3 (S.D.N.Y. Sept. 4,

2012)).

          WCA respectfully submits that Panasonic’s interpretation of the Contract is, at best,

contrary to the reasonable expectations of the Parties and should therefore be set aside. Yet, if the

Court were to agree with Panasonic and find that the Equipment Upgrade provisions are


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ambiguous as a matter of law, the meaning of the provisions would be a question of fact for trial.

Thus, even if the Court accepts Panasonic’s arguments regarding indefiniteness, it should deny the

Motion as to the “Equipment Upgrade” portion of Count I.

       F. The warranties in the GTA and the Amendments applied to the eX1 System’s
          operation and installation.

       Panasonic also offers demonstrably false arguments regarding the applicability of the

warranties to the eX1 system. Panasonic incorrectly asserts that “there is simply no express or

implied warranty provision in either the GTA or Amendment Nos. 1-4 requiring Panasonic to

repair or replace the eX1 system or ensure it is free from any defects in material or workmanship.”

       In fact, all of the warranties in the GTA applied to the eX1. First, the “Services” warranty

applied to the eX1 system. Under the GTA, “Services” included, among other things, “installation”

and “certification” that Panasonic was to perform “pursuant to this Agreement.” GTA, Sec. 1.4.

The Services were not limited to the eXConnect system. Panasonic warranted the Services. Id. at

Sec. 6.1.5 (“The Services shall be performed in a good and workmanlike manner.”). Exhibit F to

the GTA addressed the certification and “installation of eX1.” Id. at Ex. F. Thus, prior to the Parties

entering into any of the Amendments, the eX1 system was subject to an express warranty under

the Contract.

       Second, in the Amendments the Parties evidenced their intent to have the GTA warranties

extend to the eX1 system when they explicitly stated that the warranties in Section 6 of the GTA

apply to the 2017 equipment upgrades to the eX1 system. See, e.g., Amend. No. 1, Sec. 4.3 (“All

such upgrades to the eX1 System shall be covered by the warranty provided in Section 6 of the

Agreement, as amended by this Agreement.”). Thus, there was no need to add the equipment

upgrades to the definition of “Products” in Amendment No. 4, as the upgrades were already subject

to GTA Sec. 6.1.1 and 6.1.2.


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       Third, Panasonic consistently acted as though the warranty provisions in the Contract

applied to the eX1 system. See Amend. Comp. ¶¶ 31-35. This is not consistent with Panasonic’s

current assertion that the Parties did not intend the warranty provisions in the Contract to apply to

the GTA. These allegations establish an issue of fact as to the Parties’ intent as to the scope of the

warranty provisions and preclude dismissal of the breach of warranty portion of Count I.

II.    PANASONIC BREACHED THE IMPLIED COVENANT OF GOOD FAITH AND
       FAIR DEALING IF THERE WAS NO CONTRACTUAL OBLIGATION FOR THE
       EX1 SYSTEM TO BE FULLY FUNCTIONAL

       “Under New York law, all contracts contain an implied covenant of good faith and fair

dealing in the course of performance.” Gillespie, 343 F. Supp. 3d at 341. “[W]here a party's acts

subsequent to performance on the contract so directly destroy the value of the contract for another

party that the acts may be presumed to be contrary to the intention of the parties, the implied

covenant of good faith may be implicated.” M/A–COM Sec. Corp. v. Galesi, 904 F.2d 134, 136

(2d Cir. 1990). The covenant derives from parties’ reasonable expectations, “which arise out of

the agreement entered into.” Interallianz Bank AG v. Nycal Corp., No. 93 Civ. 5024 (RPP), 1994

WL 177745, at *8 (S.D.N.Y. May 6, 1994) (citing Fasolino Foods Co. v. Banca Nazionale del

Lavoro, 961 F.2d 1052, 1056 (2d Cir.1992)). “In other words, ‘such a claim may be brought, if at

all, only where one party's conduct, though not breaching the terms of the contract in a technical

sense, nonetheless deprived the other party of the benefit of its bargain.’” Pearce v. Manhattan

Ensemble Theater, Inc., 528 F. Supp. 2d 175, 180–81 (S.D.N.Y. 2007) (quoting Sauer v. Xerox

Corp., 95 F.Supp.2d 125, 132 (W.D.N.Y.2000)).

       Panasonic appears to argue that it was not obligated to install a fully functional eX1 system

or to provide upgrades to the eX1 system. Panasonic alleges that it performed its obligations when

it installed a non-functional eX1 system. Mot. at 1. Panasonic also argues that WCA “cannot” state



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a claim for breach of contract “for Panasonic’s failure to install the eX1 system ‘in a fully working

condition.’” Mot. at 11.

        Panasonic was contractually obligated to deliver a functional eX1 system. Exhibit F to the

GTA lists the “functional features” of the eX1 system. GTA, Ex. F. As explained above, Exhibit

F was also subject to the warranties guaranteeing future performance. See, e.g., Amend. No. 1,

Sec. 4.3 (applying the warranties in GTA Section 6, including those applying to defects in materials

and workmanship). Yet if Panasonic is correct, and it was not contractually obligated to provide a

fully functional eX1 system, then WCA had a reasonable expectation that the products it purchased

from Panasonic would be fully functional. Panasonic’s installation of a system that did not fully

function destroyed the value of the Contract for WCA and therefore breached the implied covenant

of good faith and fair dealing.

        Additionally, Panasonic’s current position that its promise to install Equipment Upgrades

was illusory and required it to do nothing at all ignores its requirement to act in good faith in

identifying the available Equipment Upgrades in 2017 and installing those upgrades in the Aircraft.

Panasonic’s failure to make any effort to identify and install the applicable upgrades is a breach of

its obligation.

        A claim for breach of the implied covenant of good faith and fair dealing is not always

duplicative of a cause of action alleging breach. See JPMorgan Chase Bank, N.A. v. IDW Grp.,

LLC, 2009 WL 321222, at *5 (S.D.N.Y. Feb. 9, 2009). If the Court were to dismiss WCA’s claim

for express breach of contract, there would be no need to dismiss the claim for breach of an implied

covenant as redundant. Gillespie, 343 F. Supp. 3d at n.4. Therefore, WCA respectfully requests

that the Court not dismiss Count II of the complaint until it has ruled on Count I. If the Court were




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to dismiss Count I, Count II would not be redundant and Panasonic’s arguments for dismissal

would no longer be applicable.

III.   WCA’S CLAIM FOR PROMISSORY ESTOPPEL IS SOLELY IN THE
       ALTERNATIVE SHOULD THE COURT FIND NO ENFORCEABLE
       AGREEMENT EXISTED BETWEEN THE PARTIES

       As stated in the Amended Complaint, WCA seeks relief for promissory estoppel in the

alternative. For the reasons stated above, WCA respectfully submits that it has stated a valid claim

for breach of contract. If, however, the Court were to eventually find that there was no contractual

obligation requiring Panasonic to provide functional products, services and/or upgrades, WCA has

sought alternative relief under a theory of promissory estoppel. Despite Panasonic’s arguments to

the contrary, WCA pleads the elements of promissory estoppel. See Amend. Comp. ¶¶ 58-60

(alleging Panasonic made an unambiguous promise on which WCA reasonably relied, and that

WCA was injured by reason of this reliance).

       Panasonic’s promises were not ambiguous. Exhibit F to the GTA stated that Panasonic

would install certain “functional features.” GTA, Ex. F. WCA reasonably relied on that promise

and, as Panasonic has not fulfilled this promise to date, WCA continues to be injured by this

reliance. In Amendments 1-4, Panasonic promised to install then-available Equipment Upgrades.

WCA relied on those promises in not seeking or obtaining alternative equipment, software or

services on terms similar to those offered by Panasonic (i.e., in exchange for demonstration flights

and FAA certification assistance).

       As with much of the Motion, the cases Panasonic relies on to argue to the contrary rest on

inapplicable facts. Richbell is not applicable, as the promise in that case involved a memorandum

of understanding where the parties agreed in principle to use their “best efforts.” Richbell Info.

Servs., Inc. v. Jupiter Partners, L.P., 309 A.D.2d 288, 304, 765 N.Y.S.2d 575 (1st Dep’t 2003).

The agreements here did not include such vague, precatory language; Panasonic did not promise

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to use its best efforts, it promised to install functional equipment and then to provide Equipment

Upgrades as available in 2017. The promise in Ashland was not reasonably relied on because

Morgan Stanley included language in its policies that it was not obligated to act and that investors

should not assume that it would do so. Ashland Inc. v. Morgan Stanley & Co., 700 F. Supp. 2d

453, 472 (S.D.N.Y. 2010), aff'd, 652 F.3d 333 (2d Cir. 2011). Here, Panasonic made no such

written statements informing WCA that it would never complete the installation of functioning

equipment or Equipment Upgrades.9

       Panasonic’s final argument with regard to this injury is difficult to parse. Panasonic again

insists that it performed its obligations under the Amendments simply by installing the eXConnect

and eX1 systems, ignoring the requirement that these systems be functional and be upgraded over

time. Next, it states in a single sentence that the agreement in Amendment 4 was “never finalized”

yet to enforce that agreement would be to “impermissibly vary the unambiguous terms” of the

GTA and the Amendments. Panasonic contradicts itself.

       To be clear, Amendment No. 4 was finalized and WCA agrees that it includes unambiguous

terms obligating Panasonic to provide further goods and services. Those terms included a promise

that Panasonic would install upgraded equipment. To date, Panasonic has not completed this

upgrade, which has injured WCA. WCA is not requesting that the Court vary the unambiguous

terms of the Amendments, it is asking the Court to enforce them. Yet, if the Court were to find that

the Amendments were unenforceable for lack of consideration, applying the doctrine of




9
  Unconscionable injury is not a necessary element for promissory estoppel. See, e.g., Cyberchron
Corp. v. Calldata Sys. Dev., Inc., 47 F.3d 39, 44 (2d Cir. 1995) (noting that this is “sometimes
required to fulfill” the third element of promissory estoppel) (collecting cases). Thus, it is
immaterial that WCA did not plead this element.



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promissory estoppel would be necessary to avoid injustice. See, e.g., Cyberchron, 47 F.3d at 44

(collecting cases).

                                         CONCLUSION

         For the foregoing reasons, WCA requests that this Court deny Panasonic’s Motion to

Dismiss the Amended Complaint.



 Dated: Seattle, Washington                K&L GATES LLP
        January 7, 2021
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